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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

THE NEW GEORGIA PROJECT, et
al.,

       Plaintiffs,
                                           CIVIL ACTION
v.
                                           FILE NO. 1:21-CV-01229-JPB
BRAD RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State, et al.,

       Defendants.




     BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
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                              INTRODUCTION

      Plaintiffs’ rhetoric does not match the reality of what is in the

legislation that they challenge. Plaintiffs assail SB 202 as “burdensome,”

“discriminatory,” and “unjustified,” [Doc. 1, ¶¶ 3, 7], but as discussed below,

the changes it makes are well within the mainstream of other state laws

related to elections. Plaintiffs cannot point to a single provision of SB 202

that is not law in other states already—and, in fact, Georgia remains in the

top tier of voter access according to a recent non-partisan report. 1

      In this case, New Georgia Project (NGP) asks this Court to give it the

policy outcome it seeks 2 despite the clear direction from the Eleventh Circuit

that the judicial “sphere does not extend to second-guessing and interfering

with a State’s reasonable, nondiscriminatory election rules.” New Ga. Project,

976 F.3d at 1284. Regardless of any lingering effects of a costly pandemic,


1See Center for Election Innovation and Research, How Easy Is It to Vote
Early in Your State?, https://electioninnovation.org/research/early-voting-
availability-2022/ (April 12, 2021).

2While Plaintiffs apparently now agree that Georgia’s election system is
“already safe and secure,” [Doc. 1, ¶ 6] (emphasis in original), they did not
seem to reach that conclusion until after they saw the 2020 results. NGP—
with the same counsel—unsuccessfully sued the Secretary before the 2020
elections, seeking major changes to Georgia election laws they said would
“unconstitutionally burden and disenfranchise thousands of voters.” New Ga.
Project v. Raffensperger, 484 F. Supp. 3d 1265, 1279 (N.D. Ga. 2020), stayed
by New Ga. Project v. Raffensperger, 976 F.3d 1278, 1284 (11th Cir. 2020).

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“COVID-19 has not put any gloss on the Constitution’s demand that States—

not federal courts—are in charge of setting those rules.” Id. As discussed

below, NGP and the other Organizational Plaintiffs do not have Article III

standing to invoke this Court’s limited jurisdiction over state election laws.

      But even if this Court reaches the merits, there is no case here. SB 202

is designed “to address the lack of elector confidence in the election system on

all sides of the political spectrum, to reduce the burden on election officials,

and to streamline the process of conducting elections in Georgia by promoting

uniformity in voting.” Ex. A 3 at 4:79-82; 4:70-72. It does that by updating

Georgia’s reasonable, nondiscriminatory election rules in response to lessons

learned from voting during a pandemic.

      Because of the COVID-19 pandemic, the 2020 election cycle saw

marked and sudden changes in how Georgians cast their ballots, as well as

numerous emergency rules passed to deal with the pandemic. Ex. A at 4:76-

78. It is logical that the legislature would weigh in on these extraordinary

circumstances, and it did so in a way that expands the required minimum

time for early voting, expressly allows Sunday voting for the first time in

Georgia law, expressly requires absentee ballot drop boxes for the first time


3A copy of the enacted version of SB 202 is attached as Ex. A. Citations are to
the page and line number.

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in Georgia law, allows for the early scanning of absentee ballots, and

attempts to ensure that voters do not face long lines or electioneering at

polling places. Ex. A at 4:84-90, 5:113-118, 6:123-138; 29:721-734. This Court

should “follow the law as written and leave the policy decisions for others,”

Ga. Ass’n of Latino Elected Officials, Inc. v. Gwinnett Cty. Bd. of Reg. &

Elections, No. 1:20-CV-01587-WMR, 2020 U.S. Dist. LEXIS 211736, at *4

(N.D. Ga. Oct. 5, 2020) (“GALEO”), and dismiss this case in its entirety.

             ARGUMENT AND CITATION OF AUTHORITY

      Plaintiffs ask this Court to enjoin nine components of SB 202 because

they claim those changes place an undue burden on the right to vote and that

they violate Section 2 of the Voting Rights Act. See generally [Doc. 1].

      Where a motion to dismiss is brought pursuant to Fed. R. Civ. P.

12(b)(1), the Court is not limited to the four corners of the Complaint to

adequately satisfy itself of jurisdiction over the matter. Eaton v. Dorchester

Dev., Inc., 692 F.2d 727, 732 n.9 (11th Cir. 1982). In evaluating a 12(b)(1)

motion, “no presumptive truthfulness attaches to plaintiff's allegations.” Id.

      To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a

complaint must “state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). The complaint must demonstrate

“more than a sheer possibility that a defendant has acted unlawfully.”

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Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009). While this Court must assume the

veracity of well-pleaded factual allegations, it is not required to accept legal

conclusions when they are “couched as [] factual allegation[s].” Id. at 678-79.

This Court may consider any matters appropriate for judicial notice. Tellabs,

Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

I.    Plaintiffs do not have standing.

      Article III of the United States Constitution limits federal-court

authority to “Cases” and “Controversies.” U.S. CONST. Art. III § 2. As the

Eleventh Circuit explained recently, “Federal courts are not ‘constituted as

free-wheeling enforcers of the Constitution and laws.’” Wood v. Raffensperger,

981 F.3d 1307, 1313 (11th Cir. 2020) quoting Initiative & Referendum Inst. v.

Walker, 450 F.3d 1082, 1087 (10th Cir. 2006).

      To demonstrate standing at this stage of the litigation, Plaintiffs must

allege “(1) an injury in fact that (2) is fairly traceable to the challenged action

of the defendant and (3) is likely to be redressed by a favorable decision.”

Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1245 (11th Cir. 2020). The

party invoking federal jurisdiction bears the burden of establishing standing

at the start of the lawsuit and at each phase of the litigation. Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561, 570 n.5 (1992); see also Johnson v.

Bd. of Regents, 263 F.3d 1234, 1267 (11th Cir. 2001).

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      Within the “injury-in-fact” requirement are several elements, including

“an invasion of a legally protected interest that is both concrete and

particularized and actual or imminent, not conjectural or hypothetical.”

Wood, 981 F.3d at 1314 (citing Trichell v. Midland Credit Mgmt., Inc., 964

F.3d 990, 996 (11th Cir. 2020)). And the imminence prong requires that there

be either a substantial risk of an alleged future injury or that such injury is

“certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 401

(2013) (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)).

      Organizations can establish an injury by (1) showing they diverted

resources in response to the purportedly illegal acts of Defendants, or (2)

“stepping in the shoes” of its members. Utilizing either of these paths

requires Plaintiffs to otherwise satisfy the remaining elements of standing.

      A.    Organizational standing.

            1.    Diversion of resources.

      For a plaintiff to have standing under a diversion-of-resources theory, it

must demonstrate that “a defendant’s illegal acts impair the organization’s

ability to engage in its own projects by forcing the organization to divert

resources in response.” Arcia v. Sec’y of Fla., 772 F.3d 1335, 1341 (11th Cir.

2014). And as the Seventh Circuit recently explained, organizations cannot

support a claim of standing “based solely on the baseline work they are

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already doing.” Common Cause Ind. v. Lawson, 937 F.3d 944, 955 (7th Cir.

2019). Further, organizations “cannot convert ordinary program costs into an

injury in fact. The question is what additional or new burdens are created by

the law the organization is challenging. It must show that the disruption is

real and its response is warranted.” Id. (cleaned up). Put differently,

organizations must demonstrate that the challenged law’s effect “goes far

beyond ‘business as usual’” through “concrete evidence showing that [the law]

is already disrupting their operations, and . . . will likely require them to

significantly change or expand their activities.” Id.

      In contrast, Plaintiffs in this case allege that they can show a diversion

of resources through a much-more-lenient standard of “spending more

money” or “expending additional effort.” NGP, for example, alleges it “will []

be forced to divert resources from its day-to-day activities in order to combat

the suppressive effects of [SB 202], which also threatens to undermine its

mission.” [Doc. 1, ¶ 16]. Similarly, BVMF alleges that SB 202 “threatens to

undermine the organization’s mission,” and that they “must divert scarce

resources away from its traditional voter education and turnout programs

toward efforts to ensure that voters, and communities of color in particular,

can navigate the [purported] restrictions to their voting options imposed by

[SB 202].” [Doc. 1, ¶ 17]. Rise claims that SB 202 harms their organization

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“by making it more difficult for Georgia students who have joined the Rise

movement to vote.” [Doc. 1, ¶ 19]. Further, Rise claims the law “forces the

organization to divert resources, as well as shift the focus of its day-to-day

activities.” Id. Rise also guesses that it will have to divert resources from its

“free college advocacy programs in Georgia and elsewhere to implement

effective voter education and mobilization efforts.” Id.

      The Eleventh Circuit’s standards on injury for organizations diverting

resources is similar to the Seventh Circuit. And it is far from clear that the

alleged actions to be taken by the Plaintiffs here will constitute a “diversion”

of anything under Eleventh-Circuit precedent.

      While the Seventh Circuit has more clearly stated that an organization

“cannot convert ordinary program costs into an injury in fact,” this is really

just a restatement of the Eleventh Circuit’s holding in Jacobson. There, the

Eleventh Circuit required not only that organizational plaintiffs explain what

they are purportedly diverting resources to as a result of the challenged law,

but also what they are diverting resources from. Jacobson, 974 F.3d at 1250.

Taken together, this two-part requirement of resource diversion signals the

importance of the concept that an organization must be forced to go beyond

merely executing its existing mission in a more deliberate way. Otherwise,

simply alleging what resources are diverted to would be more than sufficient,

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and all that would be required for organizations to invoke federal-court

jurisdiction is to move money within the organization in some deliberate way.

      After the Eleventh Circuit’s holding in Jacobson, at least one district

court agreed with this approach. In GALEO, plaintiffs claimed that failing to

send Spanish-language election materials violated federal law. 2020 U.S.

Dist. LEXIS 211736 (N.D. Ga. October 5, 2020). 4 The plaintiff organization,

GALEO, alleged in its complaint that it had Article III standing because it

was forced to divert resources “from getting out the vote and voter education

to ‘reach out to and educate [limited English proficiency voters] about how to

navigate the mail voting process… as well as other aspects of the electoral

process.” Id. at *17. But GALEO also noted in its complaint that its mission

as an organization was, among other things, “organizing voter education,

civic engagement, [and] voter empowerment.” Id.

      In spite of these allegations, the district court dismissed the case and

found “there is no indication that GALEO would in fact be diverting any

resources away from the core activities it already engages in by continuing to

educate and inform Latino voters.” Id. (emphasis added). Allegations

contained in the complaint of ostensibly new or additional efforts were


4Plaintiffs appealed the dismissal and that appeal is currently being briefed
at the Eleventh Circuit.

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“precisely of the same nature as those that GALEO engaged in before…” Id.

      This holding supports the reading that Jacobson requires more than a

formulaic recitation of an accounting maneuver—like moving money from one

activity to another—because there is an additional step in the analysis. That

step calls on the courts to determine whether the alleged diversion is one that

actually is inconsistent with the organizational mission. In GALEO, the court

found the plaintiffs fell short of this second step of the analysis.

      The reasoning that compelled the district court in GALEO to deny

standing is equally applicable here. None of the organizational plaintiffs are

alleging they have to divert resources in a way that hinders or is inconsistent

with their respective missions. NGP, for example, makes only the vague

claim that SB 202 will eventually cause them to “divert resources from its

day-to-day activities in order to combat [its] suppressive effects…” [Doc. 1, ¶

16]. But NGP also alleges that its mission is to “register all eligible,

unregistered citizens of color in Georgia.” [Doc. 1, ¶ 14]. Plaintiffs’ Complaint

does not articulate how SB 202 is in any way inconsistent with this mission.

NGP’s rote recitation of diversion of resources would seemingly give it

standing to challenge any change to election administration that does not

match its own policy agenda. But the requirements of Article III surely could

not countenance such a result.

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      Similarly, BVMF claims its goal is to “increase power in communities of

color.” [Doc. 1, ¶ 17]. And it accomplishes this by “increasing voter

registration and turnout, as well as by advocating for policies to expand

voting rights and access.” Id. But nothing in SB 202 causes BVMF to depart

from these goals.

      Finally, Rise claims to have diverted resources because passage of SB

202 will force it to divert attention from their “free college advocacy programs

in Georgia…” [Doc. 1, ¶ 19]. But Rise acknowledges that, in addition to

advocating for free college, its mission also includes “increas[ing] voting

access to college students.” Id., ¶ 18. Rise does not explain how SB 202 will

hinder that mission, or how diverting resources from generic voting-access

initiatives to other, more-specific, SB-202-related voting-access initiatives

they might ultimately create is inconsistent with that mission.

      In short, the purported plight of the Plaintiffs here mirrors that faced

by the organization in GALEO. This Circuit requires more before Article III

standing can be established to invoke the jurisdiction of federal courts.

      Significantly, accepting the contention that standing is established

solely by alleging that an organization will expend resources on their existing

efforts in a slightly different way creates an exception that swallows the

resource-diversion rule. Organizations would always have standing to

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challenge any government action—including in situations where no

individual would have standing—because they could simply allege the

organization will alter its message or spend its money slightly differently. 5

      For these reasons, the organizational plaintiffs in this case have failed

to establish Article III standing under a diversion-of-resources theory. But

even if this Court disagrees on that point, the purported injury faced by

Plaintiffs is far too speculative to amount to injury-in-fact sufficient to accord

standing, and we turn to that question next.

            2.     The alleged injuries are too speculative to establish Article
                   III standing.

      Where, as here, an alleged injury is based on some future harm, that

alleged injury must be “imminent” or “certainly impending.” Clapper, 568

U.S. at 398. Clapper remains the primary case analyzing the imminence

prong of standing, and the Court made clear that allegations of mere

“possible future injury are not sufficient.” Id. at 409 (emphasis in original).


5For example, Plaintiffs’ theory of diversion would have allowed individual
plaintiffs suing in the aftermath of the 2020 election to avoid dismissal on
standing merely by incorporating—one can easily imagine a new organization
called “Kraken Action, Inc.”—and then claiming plans to spend some time or
effort differently. See Wood, 981 F.3d at 1314 (no concrete injury to individual
voter); Bognet v. Sec’y Pa., 980 F.3d 336, 356 (3d Cir. 2020) (same); Bowyer v.
Ducey, No. CV-20-02321-PHX-DJH, 2020 U.S. Dist. LEXIS 231093, at *15 (D.
Ariz. Dec. 9, 2020) (same); Gohmert v. Pence, No. 6:20-cv-660-JDK, 2021 U.S.
Dist. LEXIS 3, at *11 (E.D. Tex. Jan. 1, 2021) (same).

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      The Eleventh Circuit recently “discussed Clapper’s ‘high standard for

the risk-of-harm analysis’ in the context of speculative allegations…” Tsao v.

Captiva MVP Rest. Partners, LLC., 986 F.3d 1332, 1339 (11th Cir. 2021)

quoting Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 931 (11th Cir.

2020) (en banc). The Muransky plaintiffs alleged they faced an “elevated risk

of identity theft” because the defendants printed too many digits of their

customers’ credit cards on receipts. This, plaintiffs argued, made them more

susceptible to identity theft because bad actors could observe these extra

digits and would be better positioned to commit identity theft. But the

Eleventh Circuit was not persuaded that this risk of future harm constituted

an injury under Article III, reasoning that the plaintiff’s “naked allegations

that he and the [proposed] class were exposed to an ‘elevated risk’ of identity

theft – but not that he and the class were ever actually the victims of identity

theft – were not enough to confer standing.” Tsao, 986 F.3d at 1339 citing

Muransky, 979 F.3d at 933 (emphasis added).

      In essence, Tsao and Muransky stand for the proposition that some

triggering event beyond just a subjective fear of some abstract vulnerability

is necessary to support standing. And other courts in this District found

similar fears did not support jurisdiction in the elections context where

plaintiffs sued because they believed, for example, that long lines would occur

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at the polls. Anderson v. Raffensperger, No. 1:20-cv-03263, 2020 U.S. Dist.

LEXIS 188677, at *11 n.3 (N.D. Ga. Oct. 13, 2020) (“To the extent

Organizational Plaintiffs are diverting resources because they believe long

lines are inevitable, that is insufficient to establish standing — they must

show the lines are actually likely to occur.”). Like these cases, Plaintiffs’

claims of “voter suppression” with respect to SB 202 are entirely based on a

political narrative divorced from the realities of the legislation and of

imagined harms rather than concrete demonstrations of harm affecting the

organizations themselves or any of their individual unnamed members.

      To appreciate the speculative nature of Plaintiffs’ claims, no individual

members of their organizations have come forward with any allegations of

the supposedly negative consequences of SB 202. This is the case for at least

two reasons: (1) SB 202 has not been law for any statewide election; and (2)

claims made regarding possible future harm to members seem to be based on

a preferred narrative rather than on actual effects of the bill.

      NGP claims that, as a result of SB 202, they “will also be forced to

divert resources,” indicating that any diversion of resources will occur at

some point in the future. 6 [Doc. 1, ¶ 16]. Similarly, BVMF claims SB 202


6 Any diversion must necessarily take place in the future because Plaintiffs
filed this case the same day the Governor signed SB 202. [Doc. 1]. Despite the

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“threatens to undermine the organization’s mission,” and that BVMF “must

divert scarce resources.” [Doc. 1, ¶ 17]. But they make no allegation that they

actually have diverted any resources. Finally, Rise states that it “and its

student organizers will be forced to divert resources” as a result of SB 202,

which must be at some future date. [Doc. 1, ¶ 19].

      In short, even if this Court were to determine Plaintiffs’ alleged

resource diversions constitute an injury, that diversion is based solely on a

speculative future injury and one that it is dependent on the occurrence of a

“highly attenuated chain of possibilities.” Clapper, 568 U.S. at 410. This does

not satisfy the requirements of organizational standing.

      B.    Associational standing.

      Only NGP and Rise alleged associational standing in any meaningful

sense. See [Doc. 1 ¶¶ 16, 19]. But for the same reasons the purported injuries

are too speculative for the organizations, any alleged injuries are also too

speculative of any injury to any of their members, and Plaintiffs have failed




lack of immediate diversion, Plaintiffs have wasted no time fundraising off
their efforts related to this lawsuit. See
https://twitter.com/marceelias/status/1377118411411529728 (Mar. 31, 2021).;
https://twitter.com/NewGAProject/status/1379443734367109124 (Apr. 6,
2021); https://twitter.com/BlackVotersMtr/status/1387092953492082692
(Apr. 27, 2021); https://twitter.com/RiseFreeOrg (bio includes “Support our
lawsuit challenging #SB202” with an arrow to a link).

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to establish standing on an associational basis.

II.   Plaintiffs fail to state a claim on which relief can be granted.

      A.    Fundamental right to vote claim (Count I).

            1.    Legal standard.

      Plaintiffs first challenge nine provisions of SB 202 as undue burdens on

the right to vote. [Doc. 1, ¶¶ 76-86]. And these challenges are apparently

facial—which “must fail where the statute has a plainly legitimate sweep.”

Washington State Grange v. Washington State Republican Party, 552 U.S.

442, 449 (2008). Challenges to election practices weigh the alleged burden on

the right to vote against the interests of government. Anderson v. Celebrezze,

460 U.S. 780, 789 (1983). “Regulations imposing severe burdens on the

plaintiffs’ rights must be narrowly tailored and advance a compelling state

interest. Lesser burdens, however, trigger less exacting review, and a state’s

‘important regulatory interests’ will usually be enough to justify ‘reasonable,

nondiscriminatory restrictions.’” Timmons v. Twin Cities Area New Party,

520 U.S. 351, 358 (1997) quoting Burdick v. Takushi, 504 U.S. 428, 434

(1992). Significantly, lesser burdens impose no burden of proof or evidentiary

showing on states. Common Cause, 554 F.3d at 1353. To establish the

requisite severe burden in voting cases under Anderson/Burdick, one must

show that the burden imposed was a direct result of a state’s laws and

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policies, not burdens “arising from life’s vagaries.” Crawford, 553 U.S. at 197.

See also Duncan v. Poythress, 657 F.2d 691, 699 (5th Cir. Unit B 1981).

            2.     The challenged practices.

      First, Plaintiffs take issue with the use of an identification number for

absentee-ballot applications and ballots. [Doc. 1, ¶¶ 42, 80]. The General

Assembly explained that the prior signature-matching process was subjective

and challenged by Democratic 7 and Republican groups. Ex. A at 4:73-75. The

reformed process in SB 202 is objective and includes safeguards for voters

who lack identification. Ex. A at 38:949-39:956; 51:1297-52:1305. Plaintiffs

allege that there is a disproportionate impact on minority voters, [Doc. 1, ¶

42] but the Eleventh Circuit and Supreme Court have already determined

there is no unconstitutional burden on the right to vote by requiring photo

identification. 8 Crawford, 553 U.S. at 181; Greater Birmingham Ministries v.

Sec’y of Ala., 2021 U.S. App. LEXIS 10218, *41, __ F.3d __, 2021 WL 1323510

(11th Cir. April 9, 2021). Thus, even if there is a slight burden, it is more


7 The plaintiffs in Dem. Party of Georgia v. Raffensperger, Case No. 1:19-cv-
05028-WMR (N.D. Ga.), which attacked the signature-matching process as
“standardless,” were represented by the same counsel as Plaintiffs here.

8Also, at least six other states utilize identification with absentee-ballot
applications or ballots. See Code of Ala. § 17-9-30(b); A.C.A. § 7-5-412(a)(2)(B)
(Arkansas); K.S.A. § 25-1122(c) (Kansas); Minn. Stat. Ann. § 203B.07(3); Ohio
Rev. Code Ann. § 3509.03(B), .04(B); Wis. Stat. § 6.87(1).

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than justified by the state’s regulatory interests. Plaintiffs also fail to

mention that the verification requirement in SB 202 closely matches the

voter-identification requirements of federal law when registering to vote by

mail. See 52 U.S.C.S. § 21083(b)(2). Tellingly, Plaintiffs do not challenge the

constitutionality of that law.

      Second, Plaintiffs challenge alleged “restrictions” on outdoor drop

boxes, [Doc. 1, ¶¶ 44, 80]—something that did not exist in Georgia law prior

to SB 202 and was only optional in 2020 under an emergency rule that was

intended as a temporary measure due to the health risks posed by COVID-19.

Ex. A at 5:113-118; Ga. Comp. R. & Regs. r. 183-1-14-0.8-.14; 183-1-14-0.10-

.16; 183-1-14-.08-.14; see also O.C.G.A. § 50-13-4(b) (emergency rules “shall be

effective for the duration of the emergency or disaster and for a period of not

more than 120 days thereafter” (emphasis added)). SB 202 requires 9 every

county to have at least one drop box and allows them to be moved outside

during emergencies. Ex. A at 47:1172-1174, 1188-1191. Plaintiffs’ sole claim

is that, because Black adults “are more likely to work multiple jobs,” there is

a disproportionate burden on their right to vote. [Doc. 1, ¶ 44]. But there is no

right to vote in any particular manner, Burdick, 504 U.S. at 433, and the


9The emergency rules adopted by the State Election Board merely permitted
a county to establish drop boxes but did not require that they have one.

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elimination 10 of some pieces of voting access, while retaining others, is a

minimal burden at best, Ohio Democratic Party v. Husted, 834 F.3d 620, 630

(6th Cir. 2016). And where there are multiple options a voter can select from,

the right to vote may not be implicated at all. See, e.g., New Ga. Project, 976

F.3d at 1281 (“Indeed, a look at the evidence shows that Georgia's Election

Day deadline does not implicate the right to vote at all. Georgia has provided

numerous avenues to mitigate chances that voters will be unable to cast their

ballots.” (emphasis added)). In SB 202, Georgia expanded the number of

mandatory early-voting days, maintained no-excuse absentee balloting, and

required drop boxes in every county. Plaintiffs fail to show that the State’s

first-ever statutory authorization of drop boxes places any burden whatsoever

on the right to vote—the fact that SB 202 arguably may not be as expansive

as a temporary emergency rule (which had to expire before the 2022 election

cycle commences) is more than justified by the state’s regulatory interests.

Common Cause, 554 F.3d at 1354; Gwinnett Cty. NAACP v. Gwinnett Cty. Bd.

of Registration & Elections, 446 F. Supp. 3d 1111, 1124 (N.D. Ga. 2020).

      Third, Plaintiffs challenge changes made to absentee-ballot



10Given the large number of locations to drop off mail, which is the primary
option for returning absentee ballots, O.C.G.A. § 21-2-385(a) (“personally
mail or personally deliver”), there is no elimination of any access in SB 202.

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applications and ballots, including limitations on sending out applications

and assisting voters in returning them. [Doc. 1, ¶¶ 45-46, 80]. The General

Assembly updated the process after significant voter confusion in 2020

surrounding absentee ballots, including applications sent by third-party

groups. Ex. A at 5:102-112. The only allegations of a burden is that Black

voters used absentee voting at a higher rate and therefore are burdened—not

that anyone is prohibited from voting absentee entirely. But when voters

“must simply take reasonable steps and exert some effort to ensure that their

ballots are submitted on time . . . no one is ‘disenfranchised.’” New Ga.

Project, 976 F.3d at 1282. Given the extremely light burden imposed by the

limitations on absentee-ballot applications, the state’s strong interest in

protecting the confidential information of its voters, and the importance of

mitigating risk of potential voter intimidation, the state’s regulatory interests

more than justify any burden. Common Cause, 554 F.3d at 1354.

      Fourth, Plaintiffs attack the limitations placed on mobile-voting units,

which were utilized by one county for the first time in the 2020 elections to

mitigate the effects of the COVID-19 pandemic. [Doc. 1, ¶¶ 29, 43, 81]. SB

202 specifically allows mobile voting units when needed in emergency

situations, Ex. A at 31:774-778, but the limitations are consistent with other

provisions of the bill that require specific notice of the location of a precinct,

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not a bus traveling to different locations around the county. Ex. A at 30:741-

757 (posted notice of precinct change), 60:1525-1535 (notice of early-voting

location). Other than a conclusory allegation that limiting a county’s option to

use mobile units will “harm voters especially in minority communities,” [Doc.

1, ¶ 43], Plaintiffs do not identify any burden imposed by limiting an optional

system used in an unusual election by one county. Without such a burden,

even the State’s regulatory interests do not have to be shown. Common

Cause, 554 F.3d at 1354; Gwinnett Cty. NAACP, 446 F. Supp. 3d at 1124.

      Fifth, Plaintiffs challenge the limitations placed on out-of-precinct

ballots. [Doc. 1, ¶¶ 48, 81]. Almost half of the states do not count a

provisional ballot cast out of precinct at all. 11 Georgia legislators explained

that voters who vote out of precinct “add to the burden on election officials

and lines for other electors because of the length of time it takes to process a

provisional ballot in a precinct” and that not voting in the proper precinct

prevents voters from voting “in all elections for which they are eligible,” Ex. A

at 6:135-138. The statutory provision also explicitly permits the counting of

out-of-precinct ballots for voters who cannot get to their home precinct before



11Provisional Ballots, National Conference of State Legislatures (September
17, 2020) available at https://www.ncsl.org/research/elections-and-
campaigns/provisional-ballots.aspx#partial

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7:00 P.M. Id. at 75:1914-1919. The sole allegation from Plaintiffs is that

moving within the county is more likely to lead to appearing at the wrong

precinct [Doc. 1, ¶ 48]—but SB 202 expressly requires the voter to be directed

to his or her correct precinct if it is before 5:00 P.M. Id. at 74:1902-75:1907.

Given opportunities to vote before Election Day and after 5:00 P.M. out of

precinct on Election Day, any burden is minimal at best and is justified by

the State’s interests. Ohio Democratic Party, 834 F.3d at 630.

        Sixth, Plaintiffs challenge the prohibition on third parties giving

anything of value to voters in line. [Doc. 1, ¶¶ 47, 82]. The General Assembly

explained that “many groups” approached voters in line during the 2020

elections and clarified the rules around electioneering within 150 feet of a

polling place because of the importance of “[p]rotecting electors from

improper interference, political pressure, or intimidation while waiting in

line to vote.” Ex. A at 6:126-129. This is not unusual among states—New

York has a similar prohibition on providing food or drink to voters, NY CLS

Elec § 17-140, and the Supreme Court has recognized that campaign speech

can be restricted near polling locations and precincts. 12 Minnesota Voters

Alliance v. Mansky, 138 S. Ct. 1879, 1886 (2018); Burson v. Freeman, 504


12   Plaintiffs do not raise a First Amendment challenge to this provision.


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U.S. 191, 193-94 (1992). Most states have “buffer zones” around polling

places. 13 The important regulatory interests of the state are more than

enough to justify the minimal burden of a voter not being approached in line

with an offer of food from a third party. 14 Common Cause, 554 F.3d at 1354;

Gwinnett Cty. NAACP, 446 F. Supp. 3d at 1124.

      Seventh, Plaintiffs contest minor clarifications to Georgia’s existing

voter-challenge law. [Doc. 1, ¶¶ 49, 83]. Existing Georgia law allowed

challenges to voter registrations and required hearings before the board of

registrars. O.C.G.A. §§ 21-2-229(b), 21-2-230(b). In SB 202, the General

Assembly simply clarified that (1) there was no limit on challenges, which

was a reasonable reading of existing law; and (2) that challenges must be

resolved quickly. Ex. A at 23:575-24:581, 25:622-623. Neither of these

requirements are facially unconstitutional—even Plaintiffs admit that these

kinds of challenges only “may” be filed, [Doc. 1, ¶ 49]. And any burden on the


13Electioneering Prohibitions, National Conference of State Legislatures
https://www.ncsl.org/research/elections-and-campaigns/electioneering.aspx
(April 1, 2021).

14Aside from whether there is a constitutional right to food and water while
waiting in line, voters can still receive water from a cooler stationed within
the 150-feet buffer and SB 202 requires election officials to make changes to
avoid long lines. Ex. A at 74:1887-1889; 29:721-734. To the extent Plaintiffs
challenge line length as part of this claim, long lines are not an injury
traceable to Defendants. Anderson, 2020 U.S. Dist. LEXIS 188677 at *64.

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right to vote is minimal at best, given the discretion for local officials to weed

out the “indiscriminate challenges” Plaintiffs fear, id., especially when

compared to the State’s clear regulatory interest in up-to-date voter rolls.

      Finally, Plaintiffs apparently seek to challenge the shortening of time

for runoff elections, but only refer to this in passing in Count I of their

Complaint. Compare [Doc. 1, ¶ 50 and ¶ 84]. Again, there is nothing unusual

about a four-week runoff—this was already the timeline used for all runoffs

in Georgia prior to a change in 2014 as a result of a federal court decision and

state offices still adhere to a four-week runoff. 15 O.C.G.A. § 21-2-501(a)(3) and

(4) (2020). SB 202 adopted a system similar to that used in Alabama, which

uses ranked-choice voting to hold runoffs on the same four-week timeline. See

Code of Ala. §§ 17-13-8.1 (instant runoff voting ballots); 17-13-18 (runoff on

fourth Tuesday after election). Plaintiffs’ only complaint about this change is

that it shortens the early-voting period, [Doc. 1, ¶ 50], but SB 202 leaves the

current early-voting period for four-week runoffs in place—it just provides for

all runoffs to be held during that time. Additionally, there is no right to early

voting and any changes are only minimally burdensome. Ohio Democratic


15Extended runoffs were required for federal offices due to federal-law
requirements for overseas and military voters. See U.S. v. Georgia, 892 F.
Supp. 2d 1367, 1375 (N.D. Ga. 2012).


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Party, 834 F.3d at 631. As a result, the State’s interests in “easing the burden

on election officials and on electors,” Ex. A at 5:119-6:122, more than justifies

the changes made to runoff elections.

      Taken as a whole, Plaintiffs challenge a handful of—at best—

minimally burdensome changes. 16 No evidence is required from Defendants

to justify those changes because the important regulatory interests are

enough to justify them, Common Cause, 554 F.3d at 1354, and, as a result,

Plaintiffs have failed to state a claim on any of the challenged provisions as

violations of their fundamental right to vote.

      B.    Section 2 claim.

      Section 2 of the Voting Rights Act prohibits jurisdictions from

“impos[ing] or appl[ying]” any “voting qualification or prerequisite to voting

or standard, practice, or procedure . . . which results in a denial or

abridgement of the right of any citizen of the United States to vote on account

of race or color[.]” 52 U.S.C. § 10301(a). “This analysis turns on whether,

based on the totality of the circumstances, the challenged law violates Section

2(a) because it deprives minority voters of an equal opportunity to participate

in the electoral process and to elect representatives of their choice.” Greater


16 Despite explaining what they believe are the motives behind SB 202, [Doc.
1, ¶¶ 23-40], Plaintiffs do not allege any intentional discrimination.

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Birmingham Min., 2021 U.S. App. LEXIS 10218 at*61 (emphasis in original).

To make out a valid vote-denial 17 claim, the Eleventh Circuit requires (1)

proof of disparate impact (a denial or abridgement) and (2) that the disparate

impact is caused by racial bias. Id. at *63-64; see also Northeast Ohio Coal.

for the Homeless v. Husted, 837 F.3d 612, 626-27 (6th Cir. 2016); Democratic

Nat’l Comm. v. Hobbs, 948 F.3d 989, 1012 (9th Cir. 2020).

      Plaintiffs’ Complaint never alleges any causal link between race and

any of the specific practices they challenge as a burden on the right to vote

under Section 2, instead making—at best—generalized statements about

disparate impacts. Compare [Doc. 1, ¶ 92] (only referencing entirety of

legislation) with Greater Birmingham Min., 2021 U.S. App. LEXIS 10218 at

*65-66. This lack of specific allegations is fatal to their Section 2 claim and,

as a result, they have failed to state a claim for any violations of Section 2. Id.

                                CONCLUSION

      This Court should allow Georgia to do what the Constitution

specifically allows it to do—regulate its own elections—and this Court should

dismiss this case.


17While vote-dilution claims challenge district maps, vote-denial claims
challenge specific practices. League of Women Voters of N.C. v. North
Carolina, 769 F.3d 224, 239 (4th Cir. 2014); Veasey v. Abbott, 830 F.3d 216,
244 (5th Cir. 2016).

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Respectfully submitted this 3rd day of May, 2021.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Brief in Support of Defendants’ Motion to Dismiss has been

prepared in Century Schoolbook 13, a font and type selection approved by the

Court in L.R. 5.1(B).

                                    /s/Bryan P. Tyson
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